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                     FOR THE P!~.T.~!<6-n<;>'!EMARYLAND
                               T 8ALTIMORE
  UNITED STATES OF AMERICA By         *.~OEPUTY

           v.                                      *         CRIMINAL      NO.
                                                   *
  DAVID CODY ELROD,                                *         (Possession of a Firearm by a
                                                   *         Prohibited Person, 18 U.S.C.
                     Defendant                     *         ~ 922(g); Theft of Firearm from a
                                                   *         Federal Firearms Licensee's
                                                   *         Inventory, 18 U.S.c. ~ 922(u»
                                                   *
                                                *******
                                            INDICTMENT

                                             COUNT ONE
                           (Possession of a Firearm by a Prohibited   Person)

         The Grand Jury for the District of Maryland charges that:

         On or about August 2, 2019, in the District of Maryland, the defendant,

                                       DAVID CODY ELROD,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a Mossberg Model 500 0410 caliber shotgun bearing

serial number V0719697. The fireaml was in and alTccting commerce.

18 U.S.C. 9922(g)(I)
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                                                   COUNT TWO
                           (Theft of Firearm from a Federal Firearms     Licensee's Inventory)

                   The Grand Jury for the District of Maryland further charges that:

                    On or about August 2, 2019, in the District of Maryland, the defendant,

                                                DAVIn CODY ELROD,

           did knowingly steal and unlawfully take and carry away, from the premises of a person licensed

           to engage in the business of importing, manufacturing, and dealing in fireanns, to wit: the Gun

           Shop, located at 1614 Eastern Boulevard, Essex, MD 21221, a firearm in the licensee's business

           inventory that had been shipped and transported in interstate and foreign commerce.   The stolen

           firearnl was a Mossberg Model 500 Al 0 caliber shotgun bearing serial number V0719697.

            18 U.S.C.   S 922(u).




                                                         ~K.H~                  Hv'i    (¥lAb
                                                         United States Attorney

            " TRIll:; RII I.'


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